                              Case 2:18-cv-00142-APG-VCF Document 1 Filed 01/26/18 Page 1 of 39



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                     2 JARED G. CHRISTENSEN, ESQ.
                       Nevada State Bar No. 11538
                     3 BREMER WHYTE BROWN & O’MEARA LLP
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                       jchristensen@bremerwhyte.com
                     7
                       Attorneys for Defendant,
                     8 James River Insurance Company
                     9                                      UNITED STATES DISTRICT COURT
                  10                                                   DISTRICT OF NEVADA
                  11
                  12 CHRISTOPHER HAMILTON, an                                                 )   DEFENDANT JAMES RIVER
                     individual,                                                              )   INSURANCE COMPANY’S
                  13                                                                          )   NOTICE OF REMOVAL TO THE
                                 Plaintiff,                                                   )   UNITED STATES DISTRICT
                  14                                                                          )   COURT FOR THE DISTRICT OF
                           v.                                                                 )   NEVADA
                  15                                                                          )
                     JAMES RIVER INSURANCE                                                    )
                  16 COMPANY, an Illinois corporation;                                        )
                     DOES I through X, and ROE                                                )
                  17 CORPORATIONS I through X, inclusive,                                     )
                                                                                              )
                  18                           Defendants.                                    )
                                                                                              )
                  19
                  20 TO: THE UNITED STATES DISTRICT COURT FOR DISTRICT OF NEVADA:
                  21                 Please take notice, DEFENDANT JAMES RIVER INSURANCE COMPANY,
                  22 by and through its counsel of record, BREMER WHYTE BROWN & O’MEARA,
                  23 LLP., submits this Notice of Removal to the United States District Court for the
                  24 District of Nevada.
                  25                 PLEASE TAKE NOTICE that DEFENDANT JAMES RIVER INSURANCE
                  26 COMPANY hereby removes the state action entitled “Christopher Hamilton, an
                  27 individual, Plaintiff, vs. James River Insurance Company, an Illinois Corporation,
                  28 DOES I through X, and ROE CORPORATIONS I through X, inclusive, Defendants,”
BREMER WHYTE BROWN &
      O’MEARA LLP
1160 N. Town Center Drive
         Suite 250
  Las Vegas, NV 89144
      (702) 258-6665
                            C:\Users\lleiwalo\ND Office Echo\VAULT-PGCQ23KE\Notice of Removal 4841-9713-0330 v.1.docx
                              Case 2:18-cv-00142-APG-VCF Document 1 Filed 01/26/18 Page 2 of 39



                     1 Case No. A-17-765406-C filed in the Eighth Judicial District Court for the State of
                     2 Nevada in and for the County of Clark to this Court. The grounds for removal are as
                     3 follows:
                     4               1.        Removal is appropriate pursuant to 28 U.S.C. §1441(b) there is diversity
                     5 of citizenship sufficient to justify removal in that Plaintiff Christopher Hamilton is a
                     6 citizen of State of Nevada and Defendant James River Insurance Company is a citizen
                     7 of the State of Ohio as it is incorporated in Ohio. There is now and there was at the
                     8 time of the commencement of this action complete diversity between plaintiff and
                     9 defendant.
                  10                 2.        Service of summons and complaint upon James River Insurance
                  11 Company was made by service through the Department of Insurance on January 3,
                  12 2018.
                  13                 3.        No further proceedings have been had in this matter in the Eighth Judicial
                  14 District Court, Clark County, State of Nevada.
                  15                 4.        Pursuant to 28 U.S.C. §1446(b), James River Insurance Company
                  16 provides this Court with copies of the following documents:
                  17                           a.        Civil Complaint, attached hereto collectively as Exhibit A;
                  18                           b.        Service through Department of Insurance, attached hereto
                  19 collectively as Exhibit B;
                  20                 5.        The sum of the damages alleged by plaintiff necessarily exceeds $75,000,
                  21 exclusive of interest and costs, based on the following facts: Plaintiff is claiming at
                  22 $143,439.23 in past medical specials.
                  23                 6.        This Court has original jurisdiction over the subject matter of this action
                  24 under the provisions of Section 1332 of Title 28 of the United States Code in that there
                  25 is complete diversity between the parties and more than $75,000 in controversy
                  26 exclusive of interest and costs. Pursuant to Section 1441 of Title 28 of the United
                  27 States Code, Defendant James Rivers Insurance Company is therefore entitled to
                  28 remove this action to this Court.
BREMER WHYTE BROWN &
      O’MEARA LLP
1160 N. Town Center Drive                                                                  2
         Suite 250
  Las Vegas, NV 89144
      (702) 258-6665
                            C:\Users\lleiwalo\ND Office Echo\VAULT-PGCQ23KE\Notice of Removal 4841-9713-0330 v.1.docx
                              Case 2:18-cv-00142-APG-VCF Document 1 Filed 01/26/18 Page 3 of 39



                     1               7.        Thirty days have not elapsed since defendant was served with the
                     2 summons and complaint in this action on January 3, 2018. A copy of the Complaint
                     3 and Summons, constituting all of the papers and pleadings served on Defendant James
                     4 River Insurance Company.
                     5               8.        A true and correct copy of this Notice of Removal is being filed this date
                     6 with the Clerk of the Eighth Judicial District Court, Clark County, State of Nevada.
                     7
                     8 Dated: January 25, 2018                                        BREMER WHYTE BROWN & O’MEARA
                                                                                      LLP
                     9
                  10                                                                  By:
                                                                                             Lucian J. Greco, Jr, Esq.
                  11                                                                         Nevada State Bar No. 10600
                                                                                             Jared G. Christensen, Esq.
                  12                                                                         Nevada State Bar No. 11538
                                                                                             Attorneys for Defendant,
                  13                                                                         James River Insurance Company
                  14
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BREMER WHYTE BROWN &
      O’MEARA LLP
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         Suite 250
  Las Vegas, NV 89144
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                     1                                             CERTIFICATE OF SERVICE
                     2               I hereby certify that on this 25th day of January, 2018, a true and correct copy of
                     3 the foregoing document was electronically served through Odyssey upon all parties on
                     4 the master e-file and serve list.
                     5
                     6
                     7                                                                Lina Leiwalo

                     8
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BREMER WHYTE BROWN &
      O’MEARA LLP
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         Suite 250
  Las Vegas, NV 89144
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Case 2:18-cv-00142-APG-VCF Document 1 Filed 01/26/18 Page 5 of 39
         Case 2:18-cv-00142-APG-VCF Document 1 Filed 01/26/18 Page  6 of 39 Filed
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     1    COMJD
         MARK HESIAK, ESQ.
 2
         Nevada Bar No. 12397
 3       ERIC HINCKLEY, ESQ.
         Nevada Bar No. 12398
 4       eric@lowelawgroup . com
         LOWE LAW GROUP
         3085 Rosanna Street
 6       Las Vegas, NV89117
         Attorneys for Plaintiff
 7       702-639-7846

 8
                                                 DISTRICT COURT
 9
                                             CLARK COUNTY, NEVADA
10
         CHRISTOPHER HAMILTON, an                        )         CASE NO.:
                                                                              A-17-765406-C
                                                                            . A-17-765406-C
11
         individual,                                     )     DEPT. NO.:      Department 24
                                                                                          24
12                                                       )
                        Plaintiff,                       )     COMPLAINT AND DEMAND FOR JURY
13
                                                         )     TRIAL

14
         vs.
                                                         )
                                                         )
15       JAMES RIVER INSURANCE                           )
         COMPANY, an Illinois corporation;               )
16       DOES I through X; and ROE                       )
         CORPORATIONS I through X, inclusive,            )
17
                                                         )
18                      Defendants.                      )
19

20              COMES NOW, Plaintiff,          CHRISTOPHER HAMILTON,               an individual,   (hereinafter

21       "Plaintiff'), by and through his attorneys at the LOWE LAW GROUP, and for Plaintiffs causes

22
         of action against Defendants, JAMES RIVER INSURANCE COMPANY, DOES, and ROES, and
23
         each of them, alleges as follows:
24
                         ALLEGATIONS COMMON TO ALL CAUSES OF ACTION
25

26              1.      That at all times relevant herein, Plaintiff CHRISTOPHER HAMILTON was and is

27       a resident of Clark County, Nevada.

28




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                                        Case Number: A-17-765406-C
                                                     A-17-765406-C
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     1            2.     That at all times relevant herein, Defendant, JAMES RIVER INSURANCE

     9                        .   .                 .
          COMPANY, an Illinois company (hereinafter "Defendants") was and is a business licensed to
     3
          contract for automobile insurance coverage in Clark County, Nevada.
     4
                  3.     That Defendants, and each of them, maintains a place of business in Nevada,
     5

     g    maintains business licenses issued exclusively by the         State   of Nevada and its political

     7    subdivisions, hires employees who work and reside in Nevada, advertises in Nevada, enters into

     8
          contracts with Nevada residents with the intent that said contracts be performed in Nevada and
     9
          interpreted solely under Nevada law, pays business taxes in the State of Nevada, and otherwise
 10
          acts with the intent to be a corporate citizen domiciled in Nevada, with an intent to remain in the
11

12        State of Nevada for an indefinite period of time.

13               4.      Pursuant to NRCP 10(a) and Nurenberger Hercules-Werke GMBH v. Virostek. 107

14
         Nev. 873, 822 P. 2d 1100 (1991), the identity of resident and non-resident DEFENDANTS
15
         designated herein as DOES I through X, and ROE CORPORATIONS I through X, inclusive, are
16

         unknown to Plaintiff at the present time; however, it is alleged and believed these DEFENDANTS
17

18       were involved in the initiation, approval, support, or execution of the wrongful acts upon which

19
         this action is premised, or of similar actions directed against Plaintiff about which Plaintiff is

20
         presently unaware, including but not limited to: advertising, touting, and selling a policy of
21
         insurance that did not contain terms and provisions commensurate with the actual policy
22

23       delivered; improperly adjusting a claim made under a policy of automobile underinsured insurance

24       and/or policy of automobile medical payments coverage; improperly performing contractual

25
         promises made as part of a policy of insurance; tortiously breaching duties to Plaintiff inherent in
26
         an insurance policy; and directing the acts of others to perform these wrongful acts. It is alleged
27
         that said DOE and ROE DEFENDANTS directly and proximately caused injury and damages
28

         thereby to Plaintiff. As the specific identities of these parties are revealed through the course of



                                                          -2-
         Case 2:18-cv-00142-APG-VCF Document 1 Filed 01/26/18 Page 8 of 39



     1    discovery, the DOE and ROE appellation will be replaced to identify these parties by their true


     ^    names and capacities.
     3
                  5.     That named Defendants, DOE Defendants, and ROE Corporation Defendants, and
     4
     ^    each of them, at all relevant times, were the owner, partner, servant, officer, agent, and employee


 g        of all the other Defendants, and each of them, and were at all relevant times acting within the


     7    scope and performance of said partnership, agency, master/servants, and employment relationship.

 8
                        BACKGROUND FACTS RE: ACCIDENT GIVING RISE TO CLAIMS
 9
                 6.     Plaintiff repeats and re-alleges the allegations contained in Paragraphs 1 through 5
10
         and incorporates them herein.
11

12               7.     That on or about August 26, 2016, Plaintiff CHRISTOPHER HAMILTON

13       (hereinafter "Plaintiff') was travelling eastbound on Sahara Avenue in Las Vegas, Clark County,

14
         Nevada. Mr. Hamilton was transporting a passenger on behalf of the ride share program, Uber. At
15
         or around the same time, Juan Jose Cruz (hereinafter "Cruz") was also traveling eastbound on
16

         Sahara Avenue. As PLAINTIFF was slowing his vehicle for upcoming traffic, without any
17

18       advanced warning or notice, Cruz's vehicle slammed into the rear of PLAINTIFF'S vehicle.

19
                 8.     That an investigation of the accident was performed by Las Vegas Metropolitan

20
         Police Department and the investigating officer found probable cause to cite Cruz for driver
21
         inattention.
22

23               9.     That Cruz was negligent and was liable for Plaintiffs damages.

24               10.    At that date, time and place, Cruz violated one or more statutes, codes, ordinances

25
         or rules which governed the operation of adverse driver's vehicle which were enacted to protect
26
         persons such as Plaintiff and prevent the types of injuries and damages Plaintiff sustained, and
27
         Cruz was negligent per se, and was liable for Plaintiffs damages.
28




                                                         -3-
         Case 2:18-cv-00142-APG-VCF Document 1 Filed 01/26/18 Page 9 of 39



     1              1 1.    That as a direct and proximate result of the acts and omissions of Cruz, Plaintiff

     9         .               .                ...
          sustained great pain of body and mind, including serious and painful physical injuries to Plaintiff,
     3
          as well as shock and injury to Plaintiffs nervous system entailing mental stress, anxiety, and
     4
     ^    anguish, all or some of which conditions may be permanent and disabling in nature, all to


     g    Plaintiffs general damages in an amount in excess of $10,000.00.

     7              12.    That as a direct and proximate result of the acts and omissions of Cruz, Plaintiff

     8
          incurred expenses for medical care and expenses incidental thereto, and upon information and
 9
          belief such expenses and damages will continue in the future, all to Plaintiffs damage in a
10
          presently unascertainable amount.
11

12                 13.     That as a direct and proximate result of the acts and omissions of Cruz, Plaintiff

13        lost income and earning capacity, and upon information and belief such damages will continue in

14
         the future, all to Plaintiffs damage in a presently unascertainable amount.
15
                   14.     At the time of the underlying motor vehicle accident involving Cruz, Cruz was
16

         covered for liability arising out of the same accident by an insurance policy with Nevada Direct
17

18       Insurance Company ("Nevada Direct") with policy limits of $15,000.00 per person and

19
         $30,000.00 per accident.
20
                   15.     On or about October 24, 2016, Plaintiff made a demand upon Nevada Direct
21
         against Cruz for the insurance policy limits.
22

23                 16.     On or about December 9, 2016, Nevada Direct agreed to pay Plaintiff Cruz's

24       $15,000.00 insurance policy limits which was accepted.

25
                   17.     That the settlement with Cruz did not compensate Plaintiff for all damages suffered
26
         because of the negligence of Cruz.
27
         III
28




                                                           -4-
         Case 2:18-cv-00142-APG-VCF Document 1 Filed 01/26/18 Page 10 of 39



     1                        CLAIMS AGAINST JAMES RIVER INSURANCE COMPANY

     2
                  18.     Plaintiff repeats and re-alleges the allegations contained in Paragraphs 1 through 17
     3
          and incorporates them herein.
     4
                  20.     That at the time of the collision Plaintiff was eligible for underinsured motorist
     5

     5    coverage (hereinafter "UIM") by Defendants, and each of them, under policy #CA436100NV-01


     7    with coverage limits of $1,000,000.00 per person per accident.

 8
                  21.     That on or about September 28, 2016, Plaintiffs counsel, pursuant to and in
 9
          compliance with all the requirements of the UIM insurance, sent a letter of representation to the
10
         Defendants, and each of them, notifying them of possible UIM claims.
11

12               22.    That on or about October 4, 2016, the Defendants, and each of them, acknowledged

13       the letter of representation and acknowledged coverage for a UIM claim by Plaintiff.

14
                 23.      That on or about August 15, 2017, Plaintiff, pursuant to and in compliance with all
15
         the requirements of the UIM policy of insurance, presented Defendants, and each of them, with a
16

         proof of claim for damages for injuries to his back and neck, together with a demand for payment
17

18       of uncompensated damages caused by Cruz. The report indicated that all of the pathology in the

19
         Plaintiffs back and neck and related areas was totally, directly causally related to the subject

20
         motor vehicle accident.
21
                 24.      That the proof of claim contained medical records and billing showing that the
22

23       Plaintiff had incurred at least $143,439.23 in medical treatment and billing as a result of the

24       subject accident; and the Las Vegas Metropolitan Police traffic accident report; and proof of the

25
         Nevada Direct (Cruz's) policy limits.
26
                 25.     That based upon the proof of claim, Defendants, and each of them, knew that
27
         Cruz's underlying $15,000 liability policy with Nevada Direct was insufficient, to compensate the
28

         Plaintiff for the injuries Cruz caused the Plaintiff.



                                                            -5-
         Case 2:18-cv-00142-APG-VCF Document 1 Filed 01/26/18 Page 11 of 39




     1            26.    That based upon the proof of claim and pursuant to and in compliance with the


     ^    requirements of Defendants' UIM insurance policy, the Plaintiff demanded $1,000,000.00 in UIM
     3
          coverage and gave Defendants, and each of them, 30 days to evaluate and pay the claim.
 4
                  27.    That on or about September 27, 2017 the Defendants' claim representative had a
 5

 5        conversation with Plaintiffs counsel.   The claims representative offered to settle the UIM claim

 7        for $110,000.00.

 8
                  28.    That on November 1, 2017, Plaintiffs counsel received an email from a new claims
 9
         representative for Defendant indicating that Defendant was awaiting confirmation that Mr. Cruz's
10
         insurance had agreed to tender their policy limits before making Plaintiff an offer on his UIM
11

12       claim.

13                29.   That Plaintiffs counsel informed the new claims representative for Defendant that

14
         such was already provided to the prior claims representative and the prior claims representative
15
         made an unreasonably low offer as discussed herein in paragraph 27.
16

                  30.   That Plaintiff has not heard from Defendant since receiving the November 1, 2017
17

18       email.

19
                  31.   That the Defendants' valuation of the Plaintiffs UIM claim was so low as to shock

20
         the conscience of a reasonable person as it did not even amount to the medical expenses incurred
21
         by Plaintiff, let alone account for lost wages, lost earning capacity or pain and suffering
22

23                32.   That the Defendants' valuation of the Plaintiffs UIM claim, upon information and


24       belief, was done without a reasonable basis or reasonable investigation including, but not limited

25
         to, Defendants' failure to request or conduct an Independent Medical Examination of the Plaintiff
26
         to assist it to in determining the causation of Plaintiffs injuries; and/or the reasonableness,
27
         necessity, and causation of the past and future medical treatment the Plaintiff sought to recover
28

         under the UIM coverage; and/or the past and future pain and suffering that the Plaintiff sought to



                                                          -6-
         Case 2:18-cv-00142-APG-VCF Document 1 Filed 01/26/18 Page 12 of 39




     1    recover under the UIM coverage; and/or the future diminished earning capacity that the Plaintiff


          sought to recover under the UIM coverage prior to making the valuations described in the
     3
          preceding paragraphs.
 4
                  33.   That the Defendants' valuation of the Plaintiffs UIM claim, upon information and
     5

 5        belief, was done without a reasonable basis or reasonable investigation including, but not limited

 7       to, Defendants' failure to timely consult with any person qualified to determine the causation of

 8
         Plaintiffs injuries; and/or the reasonableness, necessity, and causation of the past and future
 9
         medical treatment the Plaintiff sought to recover under the UIM coverage; and/or the past and
10
         future pain and suffering that the Plaintiff sought to recover under the UIM coverage; and/or the
11

12       future diminished earning capacity that the Plaintiff sought to recover under the UIM coverage

13       prior to making the valuations described in the preceding paragraphs.

14
                  34.   That at all times relevant herein, Defendants, and each of them, violated multiple
15
         duties owed by an insurance company to an insured making a claim created by one or more
16

         common laws, Nevada Revised Statutes, or Nevada Administrative Code provisions; including,
17

18       but not limited to, ofNRS 686A.310, NAC 686A.660, andNAC 686A.675 as follows:

19
             a)         Defendants, and each of them, violated NRS 686A.310 (n) which requires an
20
                        insurance company to promptly provide an insured a reasonable explanation of the
21
                        basis in the insurance policy, with respect to the facts of the insured's claim and the
22

23                      applicable law, for the denial of the claim or for an offer to settle or compromise

24                      the claim;

25
            b)          Defendants, and each of them, violated NAC 686A.675(1) which prohibits an
26
                        insurance company from denying a claim based upon a specific policy provision,
27
                        condition or exclusion without referencing that provision, condition or exclusion in
28

                        the denial;                                                                               J


                                                         -7-
         Case 2:18-cv-00142-APG-VCF Document 1 Filed 01/26/18 Page 13 of 39




     1       c)      Defendants, and each of them, violated NAC 686A.675 (3) which requires an

 2
                     insurance company to give a first party claimant the reasons why additional time is
 3
                     needed to investigate the claim every 30 days after receipt of the claimant's initial
 4
                     proof of loss;
 5

 6          d)       Defendants, and each of them, violated NAC 686A.675(4) which prohibits an

 7                   insurance company from refusing to settle a first-party claim on the basis that

 8
                     responsibility for payment should be assumed by others unless provided by policy
 9
                     provisions;
10

            e)       Defendants, and each of them, violated NAC 686A.675(7) which requires an
11

12                   insurance company to pay all undisputed policy proceeds to claimant once the

13                   company determines the amount of undisputed proceeds;

14
            f)       Defendants, and each of them, violated NAC 686A.675(1) which requires an
15
                     insurance company to pay interest on any accepted claim if the insurer failed to
16

                     pay the accepted claim within 30 days after accepting the claim;
17

18          g)       Defendants, and each of them, violated NRS 686A.310 (c) which requires an

19
                     insurance company to create and implement reasonable standards for the prompt

20
                     investigation of claims, including appropriate procedures to support the insurer's
21
                     assertions that a first party claimant's injury was either unrelated to the loss or the
22

23                   first party claimant's treatment was unreasonable.

24          h)       Defendants, and each of them, violated NRS 686A.310 (f) which prohibits an

25
                     insurance company from compelling an insured to institute litigation to recover
26
                     amounts due under an insurance policy by offering substantially less than the
27
                     amounts the insured claimed and ultimately recovered or offering nothing at all.
28




                                                      -8-
     Case 2:18-cv-00142-APG-VCF Document 1 Filed 01/26/18 Page 14 of 39




 1                 35.   That Defendants, and each of them, have not tendered the undisputed amount of

 2         *   •
      Plaintiffs UIM claim, and continue to hold the undisputed amount of his claim.
 3
                   36.   That Plaintiff has demanded Defendants, and each of them, to fully perform their
 4
      UIM contractual obligations and Defendants, and each of them, have not done so.


 6                 37.   That Defendants, and each of them, have acted unreasonably in carrying out their


 7   duties to Plaintiff.

 8
                                             BREACH OF CONTRACT
 9
                   38.   Plaintiff repeats and realleges the allegations contained in paragraphs 1 through 37
10
     of the Complaint as though fully set forth herein by reference.
11

12                 39.   That in exchange for consideration, Defendants, and each of them, contractually

13   agreed to pay benefits under the UIM provisions of Defendants' insurance policy #CA436100NV-

14
     01.
15
                   40.   That Defendants, and each of them, by and through their employees and agents,
16

     have breached their contractual obligations to Plaintiff and Plaintiff has suffered damage as a
17

18   proximate result of the breach of contractual obligations, in an amount in excess of $10,000.00.

19
                   41.   That Plaintiff had to retain the services of an attorney to prosecute this action
20
     against the Defendants and each of them, and is entitled to reasonable attorney's fees, prejudgment
21
     interest and costs of suit incurred herein as items of special damages.
22

23                         BREACH OF SPECIAL AND FIDUCIARY-LIKE DUTIES


24                 42.   Plaintiff repeats and realleges the allegations contained in paragraphs 1 through 41

25
     of the Complaint as though fully set forth herein by reference.
26
                   43.   That Defendants, and each of them, had special and fiduciary-like duties to the
27
     Plaintiff based upon their relative positions to each other in the subject contract.
28




                                                          -9-
         Case 2:18-cv-00142-APG-VCF Document 1 Filed 01/26/18 Page 15 of 39                                              I




     1               44.     That Defendants, and each of them, by and through its employees and agents, have

     J

          breached its special and fiduciary-like duties to Plaintiff causing Plaintiff damages including
     3
          mental suffering and distress with physical manifestations, and anxiety, anguish, and financial
     4
          hardship as a proximate result of said breach, all in an amount in excess of $10,000.00.


     6             45.       That upon information and belief, Defendants, and each of them, by and through

     7    their employees and agents, acted with or committed acts constituting a conscious disregard of the

     8
          rights   of Plaintiff;     oppression;   and/or, malice,   express or implied, by among other acts,
 9
          deliberately, intentionally, and with cognizance of the foreseeable consequences: not following
10
         one or more rules of the common law, Nevada Revised Statute, and Nevada Administrative Code
11

12       provisions pertaining to the adjustment of first party claims during the adjusting of Plaintiffs

13       claims; not performing one or more contractual provisions in the policy of insurance; making

14
         medical or other expert decisions without conducting a reasonable investigation including, but not
15
         limited to, using an IME or a timely medical consultation; representing to the insured that medical
16

         records may have an effect upon its evaluation; and withholding from Plaintiff money amounts
17

18       Defendants, and each of them, know is due to Plaintiff under the UIM coverage.                   Plaintiff is

19
         entitled to exemplary damages as contemplated by NRS 42.005.

20
                   46.      Upon information and belief, the employer and coiporate Defendants, and each of
21
         them, are liable for exemplary damages by knowledge and actions that satisfy NRS 42.007
22

23       including, but not limited to, maintaining the defense this litigation even after learning of the

24       negligence, failed contractual performance, and breach of covenants of good faith and fair

25
         dealings,       committed    by   non-management     employees   and   low-level   supervisors     of non-
26
         management employees.
27

28




                                                              -10-
     Case 2:18-cv-00142-APG-VCF Document 1 Filed 01/26/18 Page 16 of 39




 1            47.     That Plaintiff had to retain the services of an attorney to prosecute this action

 ^    against the Defendants and each of them, and is entitled to reasonable attorney's fees, prejudgment
 3
      interest and costs of suit incurred herein as items of special damages.
 4
          BREACH OF DEFENDANT'S COVENANT OF GOOD FAITH AND FAIR DEALING
 5

 6            48.    Plaintiff repeats and realleges the allegations contained in paragraphs 1 through 47

 7    of the Complaint as though tully set forth herein by reference.

 8
             49.     That Defendants, and each of them, as an inherent part of the contract with
 9
      Plaintiff, owed Plaintiff a duty of good faith and fair dealing.
10
              50.    That Defendants, and each of them, denied and otherwise refused to pay any
11

12   portion of the Plaintiffs UIM claim; that the denial and refusal to pay was done without any

13   reasonable basis; and that Defendants, and each of them, knew or were aware that they lacked any

14
     reasonable basis to deny and refuse to pay the Plaintiffs claim, or acted with reckless disregard as
15
     to      the      unreasonableness        of      the      denial     and     refusal      to     pay.
16

             51.     That Defendants, and each of them, have breached their duty of good faith and fair
17

18    dealing inherent in their contract with Plaintiff, causing Plaintiff damages including mental

19
      suffering and distress with physical manifestations, anxiety, anguish, worry, sleep loss, depression,
20
     pecuniary loss, and foreseeable financial hardship as a proximate result of said breach, all in an
21
     amount in excess of $10,000.00.
22

23           52.     That upon information and belief, Defendants, and each of them, by and through

24   their employees and agents, acted with or committed acts constituting a conscious disregard of the

25
     rights of Plaintiff; oppression; and/or, malice, express or implied, by among other acts,
26
     deliberately, intentionally, and with cognizance of the foreseeable consequences: not following
27
     one or more rules of the common law, Nevada Revised Statute, and Nevada Administrative Code
28

     provisions pertaining to the adjustment of first party claims during the adjusting of Plaintiffs



                                                        -11-
     Case 2:18-cv-00142-APG-VCF Document 1 Filed 01/26/18 Page 17 of 39




 1    claims; not performing one or more contractual provisions in the policy of insurance; making

 ^    medical or other expert decisions without conducting a reasonable investigation including, but not
 3
      limited to, using an IME or a timely medical consultation; representing to the insured that
 4
      reviewing medical records was necessary in order to complete its evaluation; and withholding

 5    from Plaintiff money amounts Defendants, and each of them, know is due to Plaintiff under the

 7    U1M coverage. Plaintiff is entitled to exemplary damages as contemplated by NRS 42.005.

 8
             53.      Upon information and belief, the employer and corporate Defendants, and each of
 9
      them, are liable for exemplary damages by knowledge and actions that satisfy NRS 42.007
10
      including but not limited to maintaining the defense of this litigation even after learning of the
11

12    negligence, failed contractual performance, and breach of covenants of good faith and fair

13    dealings,    committed   by   non-management    employees    and   low-level   supervisors   of non-

14
      management employees.
15
             54.      That Plaintiff had to retain the services of an attorney to prosecute this action
16

      against the Defendants and each of them, and is entitled to reasonable attorney's fees, prejudgment
17

18    interest and costs of suit incurred herein as an item of special damages.

19                                              NEGLIGENCE

20
             55.      Plaintiff repeats and realleges the allegations contained in paragraphs 1 through 54
21
      of the Complaint as though fully set forth herein by reference.
22

23           56.      That Defendants, and each of them, had a duty to conduct themselves in a

24    reasonable manner in its adjusting of the Plaintiffs UIM claims.

25
             57.      As described earlier in this document, that Defendants, and each of them, failed to
26
      carry out their duty to Plaintiff in handling Plaintiffs claim in an ordinary reasonably prudent
27
      manner, proximately causing Plaintiff damages including mental suffering and distress, anxiety,
28




                                                      -12-
     Case 2:18-cv-00142-APG-VCF Document 1 Filed 01/26/18 Page 18 of 39




 1    anguish, worry, sleep loss, depression, pecuniary loss, and foreseeable financial hardship all in an


      amount in excess of $10,000.00, and Defendants, and each of them, are negligent.
 3
              58.     That Plaintiff had to retain the services of an attorney to prosecute this action
 4
 ^    against the Defendants and each of them, and is entitled to reasonable attorney's fees, prejudgment


 g    interest and costs of suit incurred herein.

 7                                               NEGLIGENCE PER SE

 8
              59.    Plaintiff repeats and realleges the allegations contained in paragraphs 1 through 58
 9
      of the Complaint as though fully set forth herein by reference.
10
             60.     That Defendants, and each of them, failed to abide by the requirements of NRS
11

12    686A.310, et. seq, and NAC 686A.600, et. seq., and has breached the statutory standards of

13   minimum care, causing Plaintiff damages including mental suffering and distress, anxiety,

14
     anguish, and financial hardship all in an amount in excess of $10,000.00, and is negligent per se.
15
             61.     That Plaintiff had to retain the services of an attorney to prosecute this action
16

     against the Defendants and each of them, and is entitled to reasonable attorney's fees, prejudgment
17

18   interest and costs of suit incurred herein.

19
                                         DEMAND FOR JURY TRIAL                                               I
                                                                                                             f
20
             Plaintiff, by and through his attorneys of record, the Lowe Law Group, hereby demands a
21
     jury trial of all of the issues in the above matter.
22
             WHEREFORE, Plaintiff, expressly reserving the right to amend this Complaint at the time
23

24   of trial to include all items of damages not yet ascertained, demands judgment against Defendants,

25   and each of them, as follows:

26
             As to JAMES RIVER INSURANCE COMPANY
27
             1.      Damages for breach of contract;
28
             2.      Damages for breach of implied covenant of good faith and fair dealing;




                                                        -13-
     Case 2:18-cv-00142-APG-VCF Document 1 Filed 01/26/18 Page 19 of 39




 1          3.    General damages in an amount excess of $10,000.00;

 2
            4.   Exemplary damages;

 3
            5.   Prejudgment interest, attorney's fees, and costs of suit incurred herein;
 4
            6.   For trial by a jury; and
 5

 6          7.   For such other and further relief as the Court may deem just and proper.

 7         DATED this 30th day of November, 2017.

 8
                                                         LOWE LAW GROUP
 9

10
                                                         MARK HESIAK, ESQ.
11
                                                         Nevada Bar No. 12397
12                                                       ERIC HINCKLEY, ESQ.
                                                         Nevada Bar No. 12398
13                                                       eric@lowelawgroup . com
                                                         LOWE LAW GROUP
14
                                                         3085 Rosanna Street
15                                                       Las Vegas, NV 89117
                                                         Attorneys for Plaintiff
16                                                       702-639-7846

17

18

19

20

21

22

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24

25

26

27

28




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Case 2:18-cv-00142-APG-VCF Document 1 Filed 01/26/18 Page 20 of 39
         Case 2:18-cv-00142-APG-VCF Document 1 Filed 01/26/18 Page 21 of 39
BRIAN SANDOVAL                                                                        C.j. MANTHE
                                         STATE OF NEVADA
      Uovernor                                                                          Director



                                                                                 BARBARA D. RICHARDSON
                                                                                      Commissioner



                                                P0           I

                              DEPARTMENT OF BUSINESS AND INDUSTRY
                                     DIVISION OF INSURANCE
                                     3300 West Sahara Avenue, Suite 275
                                        Las Vegas, Nevada 89 102.-3200
                                  (702) 486-4009           Lax (702) 486-4007
                                             Website: doi.nv.gov
                                          E-mail: insi nto6Aloi.nv.gov

 January 8, 2018

 James River Insurance Company
 Attn: Michael P. Kehoe, President
 P.O. Box 27648
 Richmond, VA 23261

 RE:       Christopher Hamilton vs. James River Insurance Company, et al.
           District Court, Clark County, Nevada
           Case No. A-17-765406-C

 Dear Mr. Kehoe:


           Enclosed please find the following documents: Summons and Complaint and Demand for
 Jury Trial. These documents have been served upon the Commissioner of Insurance as your
 attorney for service of process on January 3, 2018.


           The appropriate action should be taken immediately, as you may only have 30 days from
 the date of this service to respond.


           If you have any questions regarding this service, please advise.


                                                     Sincerely,


                                                     BARBARA D. RICHARDSON
                                                     Commissioner of Insurance



                                                                     >e
                                         By:
                                                     RHONDA KELL
                                                     Service of Process Clerk


 Enclosures


 c:        Eric Hinckley, Esq.
                                  Case 2:18-cv-00142-APG-VCF Document 1 Filed 01/26/18 Page 22 of 39
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                                                    JAM^S RIVER INSURANdBCOMPANY
                                                    ATTN: wtK^HAEL P KEHOE, PRESIDENT
                                                    POBOX27^S                  \
                                                    RICHMOND VA^261                   ^
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          '•
   ' :;
     Case 2:18-cv-00142-APG-VCF Document 1 Filed 01/26/18 Page 23 of 39




                                            PROOF OF SERVICE

 2           I hereby declare that on this day I served a copy of the Summons and Complaint and

 3    Demand for Jury Trial upon the following defendant in the within matter, by shipping a copy

 4    thereof, via Certified mail, return receipt requested, to the following:

 5                   James River Insurance Company
                     Attn: Michael P. Kehoe, President
 6                   P.O. Box 27648
                     Richmond, VA 23261
 7                   CERTIFIED MAIL NO. 7016 3010 0000 0484 2208

 8           I declare, under penalty of perjury, that the foregoing is true and correct.

 9           DATED this 8th day of January, 2018.

10


1)


12                                                           RHONDA KELLY
                                                             Employee of the State of Nevada
13                                                           Department of Business and Industry
                                                             Division of Insurance
14


15    RE:    Christopher Hamilton vs. James River Insurance Company, et al.
             District Court, Clark County, Nevada
16           Case No. A-17-765406-C

17
                                                                        docur^8'.i on vvhicH this ceo fico'o
                                                           ^^3                 is s y:. true and correct
18                                                          ^14^*   copy of Ins ongioac

19                                                                                                             ft



                                                           Date:
20


21


22


23


24


25


26


27


28
          Case 2:18-cv-00142-APG-VCF Document 1 Filed 01/26/18 Page 24 of 39

BRIAN SANDOVAL                                                                                  C.J. MANTHE
                                         STATE OF NEVADA
                                                                                                   Director
      Governor


                                                                                           BARBARA D. RICILARDSON
                                                   wmm                                           Commissioner

                                               w
                                                                %

                                                      'AQit




                              DEPARTMENT OF BUSINESS AND INDUSTRY
                                     DIVISION OF INSURANCE
                                     3300 West Sahara Avenue, Suire 273
                                        I.as Vegas, Nevada 89102-3200
                                  (702) 486-4009              Fax (702) 486-4007
                                             Website: doi.nv.gov
                                          E-mail: insin (o@doi.nv.gov

 January 8, 2018


 Eric Hinckley, Esq.
 LOWE LAW GROUP
 3085 Rosanna St.
 Las Vegas, NV89117


 RE:       Christopher Hamilton vs. James River Insurance Company, et al.
           District Court, Clark County, Nevada
           Case No. A-17-765406-C


 Dear Mr, Hinckley:


        The Division received the service of process documents on January 3, 2018, regarding
 the above-entitled matter. Service has been completed on James River Insurance Company this
 date and enclosed are the following:

            1.    A copy of our letter to James River Insurance Company dated January 8, 2018;
           2.     A certified copy of the Proof of Service dated January 8, 2018; and
           3.     Your receipt in the amount of $30.00.


       Pursuant to Nevada Revised Statutes (NRS) 680A.260, 685A.200, and 685B.050, all
 documents after initial service of process may be served directly to the party,


           If you have any questions regarding this service, please so advise.


                                                               Sincerely,


                                                               BARBARA D. RICHARDSON
                                                               Commissioner of Insurance


                                                   By:               Ik
                                                               RHONDA KELL-K-3
                                                               Service of Process Clerk
 Enclosures


 c:        James River Insurance Company
               Case 2:18-cv-00142-APG-VCF Document 1 Filed 01/26/18 Page 25 of 39
                                                                                     D.
                                                                                    If:   ITJWI
          1      SUMM
                 MARK HESIAK, ESQ.
          ^      Nevada Bar No. 12397
          3      ERIC HINCKLEY, ESQ.
                 Nevada Bar No. 12398
          4      eric@lowelawgroup.com
                 LOWE LAW GROUP
                 3085 Rosanna Street

          6      Las Vegas, NV 891 17
                Attorneys for Plaintiff
          1      702-639-7846

      8
                                                          DISTRICT COURT
      9
                                                       CLARK COUNTY, NEVADA
     10

                CHRISTOPHER HAMILTON, an
     11                                                           )   CASE NO.: A-17-765406-C
                individual,
                                                                  )   DEPT. NO.: XXIV
     12
                                                                  )
                                Plaintiff,                    )       SUMMONS
     13
                                                               )
               vs.
     14                                                       )
                                                              )
 15            JAMES RIVER INSURANCE
                                                              )
               COMPANY, an Illinois corporation;
 16                                                           )
               DOES I through X; and ROE
                                                              )
               CORPORATIONS I through X, inclusive,
 17                                                           )

 18
                                                              )
                               Defendants.
                                                              )
 19

 20                                                         SUMMONS

21            NOTICE: YOU HAVE BEEN SUED.
                                          THE COURT MAY DECIDE AGAINST
                                                                        YOU
              WITHOUT YOUR BEING HEARD UNL
22                                          ESS YOU RESPOND WITHIN TWE
              DAYS. READ THE INFORMATION                               NTY (20)
                                          BELOW.
23
                      TO THE DEFENDANT: A civil complaint
                                                          has been filed by the Plaintiff against you
24                                                                                                    for
              the relief set forth in the complaint.
25

26                            James River Insurance Company
                              c/o Nevada Department of Insurance
27
                              3300 W. Sahara Ave
                             Suite 275
28
                             Las Vegas, NV 89102




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     Case 2:18-cv-00142-APG-VCF Document
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         Nevada Bar No. 12398
 4       eric@lowelawgroup.com
         LOWE LAW GROUP
         3085 Rosanna Street
 g       Las Vegas, NV 89117
         Attorneys for Plaintiff
 7       702-639-7846

 8
                                                 DISTRICT COURT
 9
                                             CLARK COUNTY, NEVADA
10
                                                                          , A-17-765406-C
         CHRISTOPHER HAMILTON, an                        )     CASE NO.:
11
         individual,                                     )     DEPT. NO.:    Department 24
12                                                       )
                        Plaintiff,                       )     COMPLAINT AND DEMAND FOR JURY
13                                                       )     TRIAL
14
         vs.                                          ' )
                                                        )
15       JAMES RIVER INSURANCE                          )
         COMPANY, an Illinois corporation;              )
16       DOES I through X; and ROE                      )
         CORPORATIONS I through X, inclusive,            )
17
                                                         )
18                      Defendants.                      )
19

20              COMES      NOW, Plaintiff, CHRISTOPHER HAMILTON,                 an individual, (hereinafter


21       "Plaintiff), by and through his attorneys at the LOWE LAW GROUP, and for Plaintiffs causes

22
         of action against Defendants, JAMES RIVER INSURANCE COMPANY, DOES, and ROES, and
23
         each of them, alleges as follows:
24
                         ALLEGATIONS COMMON TO ALL CAUSES OF ACTION
25

26              1.      That at all times relevant herein, Plaintiff CHRISTOPHER HAMILTON was and is

27       a resident of Clark County, Nevada.

28




                                                             -1-



                                        Case Number: A-17-765406-C
         Case 2:18-cv-00142-APG-VCF Document 1 Filed 01/26/18 Page 27 of 39




     1             2.      That at all times relevant herein, Defendant, JAMES RIVER INSURANCE


           COMPANY, an Illinois company (hereinafter "Defendants") was and is a business licensed to
     3
           contract for automobile insurance coverage in Clark County, Nevada.
     4
                   3.     That Defendants, and each of them, maintains a place of business in Nevada,
     5

     g     maintains business licenses issued exclusively by the State of Nevada and its political               !


     7     subdivisions, hires employees who work and reside in Nevada, advertises in Nevada, enters into

     8
           contracts with Nevada residents with the intent that said contracts be performed in Nevada and
     9
           interpreted solely under Nevada law, pays business taxes in the State of Nevada, and otherwise
 10
           acts with the intent to be a corporate citizen domiciled in Nevada, with an intent to remain in the
II

12         State of Nevada for an indefinite period of time.

13                4.      Pursuant to NRCP 1 0(a) and Nurenbereer Hercules-Werke GMBH v. Virostek. 1 07

14
          Nev. 873, 822 P.2d 1100 (1991), the identity of resident and non-resident DEFENDANTS
15
          designated herein as DOES I through X, and ROE CORPORATIONS I through X, inclusive, are
16

          unknown to Plaintiff at the present time; however, it is alleged and believed these DEFENDANTS
17

18        were involved in the initiation, approval, support, or execution of the wrongful acts upon which

19
          this action is premised, or of similar actions directed against Plaintiff about which Plaintiff is
20
          presently unaware, including but not limited to; advertising, touting, and selling a policy of
21
          insurance that did not contain terms and provisions commensurate with the actual policy
22

23        delivered; improperly adjusting a claim made under a policy of automobile underinsured insurance

24        and/or policy of automobile medical payments coverage; improperly performing contractual

25
          promises made as part of a policy of insurance; tortiously breaching duties to Plaintiff inherent in
26
          an insurance policy; and directing the acts of others to perform these wrongful acts. It is alleged
27
          that said DOE and ROE DEFENDANTS directly and proximately caused injury and damages
28

          thereby to Plaintiff. As the specific identities of these parties are revealed through the course of



                                                           -2-
     Case 2:18-cv-00142-APG-VCF Document 1 Filed 01/26/18 Page 28 of 39




     1    discovery, the DOE and ROE appellation will be replaced to identify these parties by their true


     ^    names and capacities.
     3
                  5.     That named Defendants, DOE Defendants, and ROE Corporation Defendants, and
 4
          each of them, at all relevant times, were the owner, partner, servant, officer, agent, and employee
     J



 5        of all the other Defendants, and each of them, and were at all relevant times acting within the

     7   scope and performance of said partnership, agency, master/servants, and employment relationship.

 8
                        BACKGROUND FACTS RE: ACCIDENT GIVING RISE TO CLAIMS
 9
                 6.     Plaintiff repeats and re-alleges the allegations contained in Paragraphs 1 through 5
10
         and incorporates them herein.
11

12               7.     That on or about August 26, 2016, Plaintiff CHRISTOPHER HAMILTON

13       (hereinafter "Plaintiff') was travelling eastbound on Sahara Avenue in Las Vegas, Clark County,

14
         Nevada. Mr. Hamilton was transporting a passenger on behalf of the ride share program, Uber. At
15
         or around the same time, Juan Jose Cruz (hereinafter "Cruz") was also traveling eastbound on
16

         Sahara Avenue. As PLAINTIFF was slowing his vehicle for upcoming traffic, without any
17

18       advanced warning or notice, Cruz's vehicle slammed into the rear of PLAINTIFF'S vehicle.

19               8.     That an investigation of the accident was performed by Las Vegas Metropolitan
20
         Police Department and the investigating officer found probable cause to cite Cruz for driver
21
         inattention.
22

23               9.     That Cruz was negligent and was liable for Plaintiffs damages.


24               10.    At that date, time and place, Cruz violated one or more statutes, codes, ordinances

25
         or rules which governed the operation of adverse driver's vehicle which were enacted to protect
26
         persons such as Plaintiff and prevent the types of injuries and damages Plaintiff sustained, and
27
         Cruz was negligent per se, and was liable for Plaintiffs damages.
28




                                                         -3-
     Case 2:18-cv-00142-APG-VCF Document 1 Filed 01/26/18 Page 29 of 39




     1            11.      That as a direct and proximate result of the acts and omissions of Cruz, Plaintiff

     0                        •                •
          sustained great pain of body and mind, including serious and painful physical injuries to Plaintiff,
     3
          as well as shock and injury to Plaintiffs nervous system entailing mental stress, anxiety, and
     4
          anguish, all or some of which conditions may be permanent and disabling in nature, all to

     5    Plaintiffs general damages in an amount in excess of $10,000.00.

     7           12.       That as a direct and proximate result of the acts and omissions of Cruz, Plaintiff

 8
          incurred expenses for medical care and expenses incidental thereto, and upon information and
 9
          belief such expenses and damages will continue in the future, all to Plaintiffs damage in a
10
          presently unascertainable amount.
11

12               13.       That as a direct and proximate result of the acts and omissions of Ciuz, Plaintiff

13        lost income and earning capacity, and upon information and belief such damages will continue in

14
         the future, all to Plaintiffs damage in a presently unascertainable amount.
15
                 14.      At the time of the underlying motor vehicle accident involving Cruz, Cruz was
16

         covered for liability arising out of the same accident by an insurance policy with Nevada Direct
17

18       Insurance      Company ("Nevada Direct") with policy       limits   of $15,000.00 per person and

19
         $30,000.00 per accident.

20
                 15.      On or about October 24, 2016, Plaintiff made a demand upon Nevada Direct
21
         against Cruz for the insurance policy limits.
22

23               16.      On or about December 9, 2016, Nevada Direct agreed to pay Plaintiff Cruz's

24       $15,000.00 insurance policy limits which was accepted.

25
                17.       That the settlement with Cruz did not compensate Plaintiff for all damages suffered
26
         because of the negligence of Ciuz.
27
         ///
28




                                                          -4-
         Case 2:18-cv-00142-APG-VCF Document 1 Filed 01/26/18 Page 30 of 39




     1                         CLAIMS AGAINST JAMES RIVER INSURANCE COMPANY

     2
                   1 8.    Plaintiff repeats and re-alleges the allegations contained in Paragraphs 1 through 1 7

     3
           and incorporates them herein,
     4
                   20.     That at the time of the collision Plaintiff was eligible for underinsured motorist
     5

     6     coverage (hereinafter "UIM") by Defendants, and each of them, under policy #CA436100NV-01

     7     with coverage limits of $1,000,000.00 per person per accident.

     8
                   21.     That on or about September 28, 2016, Plaintiffs counsel, pursuant to and in
 9
           compliance with all the requirements of the UIM insurance, sent a letter of representation to the
 10
           Defendants, and each of them, notifying them of possible UIM claims.
11

12                22. That on or about October 4, 2016, the Defendants, and each of them, acknowledged

13         the letter of representation and acknowledged coverage for a UIM claim by Plaintiff.

14
                  23.     That on or about August 15, 2017, Plaintiff, pursuant to and in compliance with all
15
           the requirements of the UIM policy of insurance, presented Defendants, and each of them, with a
16

          proof of claim for damages for injuries to his back and neck, together with a demand for payment
17

18        of uncompensated damages caused by Cruz. The report indicated that all of the pathology in the

19        Plaintiffs back and neck and related areas was totally, directly causally related to the subject

20
          motor vehicle accident.
21
                  24.     That the proof of claim contained medical records and billing showing that the
22

23        Plaintiff had incurred at least $143,439.23 in medical treatment and billing as a result of the

24        subject accident; and the Las Vegas Metropolitan Police traffic accident report; and proof of the

25
          Nevada Direct (Cruz's) policy limits.
26
                  25.     That based upon the proof of claim, Defendants, and each of them, knew that
27
                                                                                                                    r
          Cruz's underlying $15,000 liability policy with Nevada Direct was insufficient to compensate the
28

          Plaintiff for the injuries Cruz caused the Plaintiff.



                                                             -5-
     Case 2:18-cv-00142-APG-VCF Document 1 Filed 01/26/18 Page 31 of 39




     1            26.    That based upon the proof of claim and pursuant to and in compliance with the


     2    requirements of Defendants' UIM insurance policy, the Plaintiff demanded $1,000,000.00 in UIM
     3
          coverage and gave Defendants, and each of them, 30 days to evaluate and pay the claim.
     4
                  27.    That on or about September 27, 2017 the Defendants' claim representative had a
     5

     5    conversation with Plaintiffs counsel. The claims representative offered to settle the UIM claim

     7   for $110,000.00.

 8
                  28.    That on November 1, 2017, Plaintiffs counsel received an email from a new claims
 9
         representative for Defendant indicating that Defendant was awaiting confirmation that Mr. Cruz's
10

         insurance had agreed to tender their policy limits before making Plaintiff an offer on his UIM
11

12       claim.

13                29.   That Plaintiffs counsel informed the new claims representative for Defendant that

14
         such was already provided to the prior claims representative and the prior claims representative
15
         made an unreasonably low offer as discussed herein in paragraph 27.
16

                  30.   That Plaintiff has not heard horn Defendant since receiving the November 1, 2017
17

18       email.

19                31.   That the Defendants' valuation of the Plaintiffs UIM claim was so low as to shock

20
         the conscience of a reasonable person as it did not even amount to the medical expenses incurred
21
         by Plaintiff, let alone account for lost wages, lost earning capacity or pain and suffering
22

23                32.   That the Defendants' valuation of the Plaintiffs UIM claim, upon information and

24       belief, was done without a reasonable basis or reasonable investigation including, but not limited

25
         to, Defendants' failure to request or conduct an Independent Medical Examination of the Plaintiff
26
         to assist it to in determining the causation of Plaintiffs injuries; and/or the reasonableness,
27
         necessity, and causation of the past and future medical treatment the Plaintiff sought to recover
28

         under the UIM coverage; and/or the past and future pain and suffering that the Plaintiff sought to



                                                          -6-
         Case 2:18-cv-00142-APG-VCF Document 1 Filed 01/26/18 Page 32 of 39




     1     recover under the UIM coverage; and/or the future diminished earning capacity that the Plaintiff


           sought to recover under the UIM coverage prior to making the valuations described in the
     3
           preceding paragraphs.
     4
                   33.    That the Defendants' valuation of the Plaintiffs UIM claim, upon information and
     5

 5         belief, was done without a reasonable basis or reasonable investigation including, but not limited


     7     to, Defendants' failure to timely consult with any person qualified to determine the causation of

 8
           Plaintiffs injuries; and/or the reasonableness, necessity, and causation of the past and future
 9
           medical treatment the Plaintiff sought to recover under the UIM coverage; and/or the past and
10
           future pain and suffering that the Plaintiff sought to recover under the UIM coverage; and/or the
11

12         future diminished earning capacity that the Plaintiff sought to recover under the UIM coverage

13         prior to making the valuations described in the preceding paragraphs.

14
                   34.    That at all times relevant herein, Defendants, and each of them, violated multiple
15
           duties owed by an insurance company to an insured making a claim created by one or more
16
          common laws, Nevada Revised Statutes, or Nevada Administrative Code provisions; including,
17

18        but not limited to, of NRS 686A.3 1 0, NAC 686A.660, and NAC 686A.675 as follows:

19
              a)          Defendants, and each of them, violated NRS 686A.310 (n) which requires an
20
                          insurance company to promptly provide an insured a reasonable explanation of the
21
                          basis in the insurance policy, with respect to the facts of the insured's claim and the
22

23                        applicable law, for the denial of the claim or for an offer to settle or compromise

24                        the claim;

25
              b)          Defendants, and each of them, violated NAC 686A.675(1) which prohibits an
26
                         insurance company Rom denying a claim based upon a specific policy provision,
27
                          condition or exclusion without referencing that provision, condition or exclusion in
28

                         the denial;



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     1        c)       Defendants, and each of them, violated NAC 686A.675 (3) which requires an

     2
                       insurance company to give a first party claimant the reasons why additional time is
     3
                      needed to investigate the claim every 30 days after receipt of the claimant's initial
     4
                      proof of loss;
     5

 6            d)      Defendants, and each of them, violated NAC 686A.675(4) which prohibits an

     7                insurance company from refusing to settle a first-party claim on the basis that

 8
                      responsibility for payment should be assumed by others unless provided by policy
 9
                      provisions;
10

             e)       Defendants, and each of them, violated NAC 686A.675(7) which requires an
11

12                    insurance company to pay all undisputed policy proceeds to claimant once the

13                    company determines the amount of undisputed proceeds;

14
             f)       Defendants, and each of them, violated NAC 686A.675(1) which requires an
15
                      insurance company to pay interest on any accepted claim if the insurer failed to
16

                      pay the accepted claim within 30 days after accepting the claim;
17

18           g)       Defendants, and each of them, violated NRS 686A.310 (c) which requires an

19                    insurance company to create and implement reasonable standards for the prompt

20
                      investigation of claims, including appropriate procedures to support the insurer's
21
                      assertions that a first party claimant's injury was either unrelated to the loss or the
22

23                    first party claimant's treatment was unreasonable.

24                    Defendants, and each of them, violated NRS 686A.310 (f) which prohibits an

25
                     insurance company from compelling an insured to institute litigation to recover
26
                      amounts due under an insurance policy by offering substantially less than the
27
                     amounts the insured claimed and ultimately recovered or offering nothing at all.
28




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     1                 35.   That Defendants, and each of them, have not tendered the undisputed amount of

 9             .   .

         Plaintiffs UIM claim, and continue to hold the undisputed amount of his claim.
 3
                       36.   That Plaintiff has demanded Defendants, and each of them, to fully perform their
 4
         UIM contractual obligations and Defendants, and each of them, have not done so.


 6                     37.   That Defendants, and each of them, have acted unreasonably in carrying out their


 7       duties to Plaintiff.

 8
                                                 BREACH OF CONTRACT
 9
                       38.   Plaintiff repeats and realleges the allegations contained in paragraphs 1 through 37
10
         of the Complaint as though fully set forth herein by reference.
11

12                     39.   That in exchange for consideration, Defendants, and each of them, contractually

13       agreed to pay benefits under the UIM provisions of Defendants' insurance policy #CA436100NV-

14
         01.
15
                       40.   That Defendants, and each of them, by and through their employees and agents,
16

         have breached their contractual obligations to Plaintiff and Plaintiff has suffered damage as a
17

18       proximate result of the breach of contractual obligations, in an amount in excess of $10,000.00.

19
                       41.   That Plaintiff had to retain the services of an attorney to prosecute this action
20
         against the Defendants and each of them, and is entitled to reasonable attorney's fees, prejudgment
21
         interest and costs of suit incurred herein as items of special damages.
22

23                             BREACH OF SPECIAL AND FIDUCIARY-LIKE DUTIES


24                     42.   Plaintiff repeats and realleges the allegations contained in paragraphs 1 through 41

25
         of the Complaint as though fully set forth herein by reference.
26
                       43.   That Defendants, and each of them, had special and fiduciary-like duties to the
27
         Plaintiff based upon their relative positions to each other in the subject contract.
28




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     Case 2:18-cv-00142-APG-VCF Document 1 Filed 01/26/18 Page 35 of 39




     1               44.    That Defendants, and each of them, by and through its employees and agents, have


     *    breached its special and fiduciary-like duties to Plaintiff causing Plaintiff damages including
     3
          mental suffering and distress with physical manifestations, and anxiety, anguish, and financial
     4
          hardship as a proximate result of said breach, all in an amount in excess of $10,000.00.


     6           45.       That upon information and belief, Defendants, and each of them, by and through


     7   their employees and agents, acted with or committed acts constituting a conscious disregard of the

     8
         rights of Plaintiff; oppression;     and/or, malice, express or implied, by among other acts,
 9
         deliberately, intentionally, and with cognizance of the foreseeable consequences: not following
10
         one or more rules of the common law, Nevada Revised Statute, and Nevada Administrative Code
11

12       provisions pertaining to the adjustment of first party claims during the adjusting of Plaintiffs

13       claims; not performing one or more contractual provisions in the policy of insurance; making

14
         medical or other expert decisions without conducting a reasonable investigation including, but not
15
         limited to, using an IME or a timely medical consultation; representing to the insured that medical
16

         records may have an effect upon its evaluation; and withholding from Plaintiff money amounts
17

18       Defendants, and each of them, know is due to Plaintiff under the UIM coverage.              Plaintiff is

19
         entitled to exemplary damages as contemplated by NRS 42.005.

20
                46.        Upon information and belief, the employer and corporate Defendants, and each of
21
         them, are liable for exemplary damages by knowledge and actions that satisfy NRS 42.007
22

23       including, but not limited to, maintaining the defense this litigation even after learning of the

24       negligence, failed contractual performance, and breach of covenants of good faith and fair

25
         dealings,     committed   by   non-management   employees   and   low-level   supervisors     of non-
26
         management employees.
27                                                                                                                  -



28




                                                         -10-
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 1             47.     That Plaintiff had to retain the services of an attorney to prosecute this action

 ^     against the Defendants and each of them, and is entitled to reasonable attorney's fees, prejudgment
 3
       interest and costs of suit incurred herein as items of special damages.
 4
            BREACH OF DEFENDANT'S COVENANT OF GOOD FAITH AND FAIR DEALING
 5

 6             48.     Plaintiff repeats and realleges the allegations contained in paragraphs 1 through 47

 7     of the Complaint as though fully set forth herein by reference.

 8
               49.    That Defendants, and each of them, as an inherent part of the contract with
 9
       Plaintiff, owed Plaintiff a duty of good faith and fair dealing.
10
               50.    That Defendants, and each of them, denied and otherwise refused to pay any
11

12     portion of the Plaintiffs UIM claim; that the denial and refusal to pay was done without any

13     reasonable basis; and that Defendants, and each of them, knew or were aware that they lacked any

14
       reasonable basis to deny and refuse to pay the Plaintiffs claim, or acted with reckless disregard as
15
       to     the      unreasonableness        of      the      denial     and     refusal      to     pay.
16

               51.    That Defendants, and each of them, have breached their duty of good faith and fair
17

18     dealing inherent in their contract with Plaintiff, causing Plaintiff damages including mental

19     suffering and distress with physical manifestations, anxiety, anguish, worry, sleep loss, depression,
20
       pecuniary loss, and foreseeable financial hardship as a proximate result of said breach, all in an
21
       amount in excess of $10,000.00.
22

23             52.    That upon information and belief, Defendants, and each of them, by and through

24     their employees and agents, acted with or committed acts constituting a conscious disregard of the

25
       rights of Plaintiff; oppression; and/or, malice, express or implied, by among other acts,
26
       deliberately, intentionally, and with cognizance of the foreseeable consequences: not following
27
       one or more rules of the common law, Nevada Revised Statute, and Nevada Administrative Code
28

       provisions pertaining to the adjustment of first party claims during the adjusting of Plaintiffs



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 1     claims; not performing one or more contractual provisions in the policy of insurance; making

 ^     medical or other expert decisions without conducting a reasonable investigation including, but not
 3
       limited to, using an IME or a timely medical consultation; representing to the insured that
 4
       reviewing medical records was necessary in order to complete its evaluation; and withholding

 6     from Plaintiff money amounts Defendants, and each of them, know is due to Plaintiff under the

 7     U1M coverage. Plaintiff is entitled to exemplary damages as contemplated by NRS 42.005.

 8
               53.    Upon information and belief, the employer and corporate Defendants, and each of
 9
       them, are liable for exemplary damages by knowledge and actions that satisfy NRS 42.007
10
       including but not limited to maintaining the defense of this litigation even after learning of the
11

12     negligence, failed contractual performance, and breach of covenants of good faith and fair

13     dealings, committed by non-management employees and low-level supervisors of non-
14
       management employees.
15
              54.     That Plaintiff had to retain the seivices of an attorney to prosecute this action
16

       against the Defendants and each of them, and is entitled to reasonable attorney's fees, prejudgment
17

18     interest and costs of suit incurred herein as an item of special damages.

19                                               NEGLIGENCE

20
              55.     Plaintiff repeats and realleges the allegations contained in paragraphs 1 through 54
21
       of the Complaint as though fully set forth herein by reference.
22

23            56.     That Defendants, and each of them, had a duty to conduct themselves in a

24     reasonable manner in its adjusting of the Plaintiffs UIM claims.

25
              57.     As described earlier in this document, that Defendants, and each of them, failed to
26
       carry out their duty to Plaintiff in handling Plaintiffs claim in an ordinary reasonably prudent
27
       manner, proximately causing Plaintiff damages including mental suffering and distress, anxiety,
28




                                                        -12-
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     1    anguish, worry, sleep loss, depression, pecuniary loss, and foreseeable financial hardship all in an


          amount in excess of $10,000,00, and Defendants, and each of them, are negligent.
     3
                  58.     That Plaintiff had to retain the services of an attorney to prosecute this action
 4
          against the Defendants and each of them, and is entitled to reasonable attorney's fees, prejudgment


 6        interest and costs of suit incurred herein.

     7                                                 NEGLIGENCE PER SE

 8
                  59.    Plaintiff repeats and realleges the allegations contained in paragraphs 1 through 58
 9
         of the Complaint as though fully set forth herein by reference.
10
                 60.     That Defendants, and each of them, failed to abide by the requirements of NRS
11

12       686A.310, et. seq, and NAC 686A.600, et. seq., and has breached the statutory standards of

13       minimum care, causing Plaintiff damages including mental suffering and distress, anxiety,

14
         anguish, and financial hardship all in an amount in excess of $10,000.00, and is negligent per se.
15
                 61.     That Plaintiff had to retain the services of an attorney to prosecute this action
16
         against the Defendants and each of them, and is entitled to reasonable attorney's fees, prejudgment
17

18       interest and costs of suit incurred herein.

19
                                             DEMAND FOR JURY TRIAL
20
                 Plaintiff, by and through his attorneys of record, the Lowe Law Group, hereby demands a
21
         jury trial of all of the issues in the above matter.
22
                 WHEREFORE, Plaintiff, expressly reserving the right to amend this Complaint at the time
23

24       of trial to include all items of damages not yet ascertained, demands judgment against Defendants,

25       and each of them, as follows:

26
                 As to JAMES RIVER INSURANCE COMPANY
27
                 1.      Damages for breach of contract;
28
                 2.      Damages for breach of implied covenant of good faith and fair dealing;




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     1       3.    General damages in an amount excess of $10,000.00;

 2
             4.    Exemplary damages;

 3
             5.   Prejudgment interest, attorney's fees, and costs of suit incurred herein;
 4
             6.   For trial by a jury; and
 5

 6           7.   For such other and further relief as the Court may deem just and proper.

 7          DATED this 30lh day of November, 2017.

 8
                                                         LOWE LAW GROUP
 9

10
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12                                                       ERIC HINCKLEY, ESQ.
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